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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
KATHLEEN KILLEEN,
Plaintiff,

v. : Civ. No. 19-1278-LPS

CONNECTIONS, C.S.P.,
Defendant.
( 6ft ORDER

At Wilmington, this__ day of June, 2021,

On April 21, 2021, Connections Community Support Programs, Inc. filed a Suggestion of
Bankruptcy. (D.I.8) As of April 19, 2021, all proceedings against Connections Community
Support Programs, Inc. and its employee(s) are STAYED pursuant to Section 362(a) of the
Bankruptcy Code, 11 U.S.C. § 362(a) ) and ADMINISTRATIVELY CLOSED until further Order
of the Court.

The parties shall promptly notify the Court when the bankruptcy proceedings have been

resolved so that the case may be reopened and other appropriate action may be taken.

TnI

Sie ‘LEONARD P. STARK
UNITE STATES DISTRICT JUDGE
